 Case 19-32528-MBK             Doc 28 Filed 03/04/20 Entered 03/05/20 00:40:43                       Desc Imaged
                                    Certificate of Notice Page 1 of 2
Form finmgtc

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 19−32528−MBK
                                         Chapter: 11
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   George Sariotis
   1801 Pitney St
   Oakhurst, NJ 07755−2840
Social Security No.:
   xxx−xx−3126
Employer's Tax I.D. No.:




               NOTICE OF FAILURE TO FILE DEBTOR'S CERTIFICATION OF COMPLETION
                OF INSTRUCTIONAL COURSE CONCERNING FINANCIAL MANAGEMENT




To receive a discharge each individual debtor must participate in a personal financial management course. The
course provider may file a Certificate of Debtor Education, or the debtor must file a Debtor's Certification of
Completion of Instructional Course Concerning Financial Management (Official Form B23) proving compliance
with the financial management course requirement for discharge (each debtor in a joint case must file a separate
Certification). The Certification must be filed by:

       Chapter 11: [In a case in which 1141(d)(3) applies, no later than the date you make your last plan payment.]

To date the court has not received the above document from the debtor(s), nor has it received a Certificate of Debtor
Education from a course provider. If the court does not receive the document(s) within the time frame set forth
above, your case will be closed without entry of the discharge. If the case is closed without entry of the discharge
you must file a Motion To Reopen to allow for the filing of the document(s) and pay the applicable filing fee.




Dated: March 2, 2020
JAN: admi

                                                                    Jeanne Naughton
                                                                    Clerk
        Case 19-32528-MBK              Doc 28 Filed 03/04/20 Entered 03/05/20 00:40:43                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-32528-MBK
George Sariotis                                                                                            Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 02, 2020
                                      Form ID: finmgtc                   Total Noticed: 3

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 04, 2020.
db              George Sariotis,   1801 Pitney St,   Oakhurst, NJ 07755-2840

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Mar 03 2020 01:02:18     U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Mar 03 2020 01:02:15     United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,  One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
                                                                                             TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 04, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 2, 2020 at the address(es) listed below:
              David B. Grantz    on behalf of Creditor   Two River Community Bank dgrantz@meyner.com,
               ckelly@meyner.com
              Laura M. Egerman    on behalf of Creditor   Selene Finance LP bkyecf@rasflaw.com,
               bkyecf@rasflaw.com;legerman@rasnj.com
              Lauren Bielskie     on behalf of U.S. Trustee   U.S. Trustee lauren.bielskie@usdoj.gov
              Linda T. Snyder    on behalf of Creditor   Two River Community Bank lsnyder@meyner.com
              Matthew Patrick Dolan    on behalf of Creditor   Two River Community Bank mdolan@meyner.com
              Timothy P. Neumann    on behalf of Debtor George Sariotis timothy.neumann25@gmail.com,
               btassillo@aol.com;geoff.neumann@bnfsbankruptcy.com
              U.S. Trustee    USTPRegion03.NE.ECF@usdoj.gov
                                                                                             TOTAL: 7
